OPINION — AG — **** INSURANCE — MUTUAL FUNDS — INDUCEMENT TO PURCHASE **** THE SALE OF LIFE INSURANCE AND MUTUAL FUND SHARES IN THE SAME TRANSACTION WOULD NOT PER SE VIOLATE 36 O.S. 1968 Supp., 1204.10 [36-1204.10](B), SO LONG AS THE MUTUAL FUND SHARES ARE NOT SOLD AT A DISCOUNT OR BELOW PAR RATE OR TO INFLUENCE OR INDUCE THE SALE OF INSURANCE. CITE: 36 O.S. 1967 Supp., 1204.110 [36-1204.110](B), 36 O.S. 1961 1201 [36-1201] W. HOWARD O'BRYAN, JR.